
Mr. Justice Moore
delivered the opinion of the Court.
This is an original proceeding in discipline.
It appears from the record herein that on May 16, 1961, Wendell Austin Peters, the respondent above named, was convicted in the district court for the City and County of Denver, of the crime of larceny by bailee of property of a value in excess of $50.00, a felony under the laws of this state. Following said conviction *410respondent prosecuted a writ of error to this court seeking reversal of the judgment.
November 5, 1962, this court affirmed the judgment and thereafter, on December 3, 1962, his motion for rehearing was denied and remittitur was issued to said district court. Thereafter, on the 14th day of December, 1962, a citation was issued by order of this court and served on said Wendell Austin Peters in words and figures as follows:
“You are hereby ordered and directed to answer in writing and show cause within thirty days from this day why your name should not be stricken from the roll or record of persons who have been regularly licensed and admitted to practice as attorneys and counselors at law within this state for conviction of a felony as provided by C.R.S. 1953, 39-10-17.
“A copy of the motion of the Attorney General of the State of Colorado requesting issuance of this citation or notice is attached hereto and served herewith.”
More than thirty days have expired since service of the foregoing citation was made on respondent and he has made no appearance or response thereto.
It is accordingly ordered that the respondent be disbarred and his name stricken from the roll of attorneys licensed to practice law in this state.
Mr. Justice Pringle not participating.
